UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF VIRGINIA
Lynchburg Division

In re BOSS MANAGEMENT GROUP, Case NO. 05-61589-LYN

INC.,

Debtor,

 

WILLIAM SCHNEIDER, Trustee, Adv. No. 06-06081
Plaintiff,

V.

FABRIKO ACQUISITION CORP., and
MID-WEST TEXTILES, INC.

Respondents,

 

FABRlKO ACQUISITION
CORPORATION,

Third Party PIaintiff,
V.

ADVlSCO CAPITAL CORPORATION and
PHILIP A. NEWMAN,

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Third Party Defendants, )
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O_R_D_.E_B
Fabril<o Acquisition Corporation’s demand for ajury trial is dismissed as moot.
So ORDERED.
Upon entry of this Memorandum the Clerk shall forward copies to R. Mitchell Garbee,
Esq., and Andrew Lyerly Ridenour, Esq., counsel for Aclvisco Capital Corporation and Phillip A.
Newman, William F. Schneider, Esq., the chapter 7 trustee, Gary M. Bowman, Esq., counsel for
Fabriko Acquisitions Corporation and Mid-West Textiles, lnc.

Entered on this 3“i day of May, 2007.

. WL..`_

William E, Anclcrson
United Statcs Bankruptcy Judge

 

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